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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                      Filed: September 24, 2021

* * * * * * * * * * * * *  *
KENNEDY DEESE,             *                                     UNPUBLISHED
                           *
         Petitioner,       *                                     No. 19-1127V
                           *                                     Special Master Gowen
v.                         *
                           *                                     Attorneys’ Fees and Costs
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Nancy R. Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.
Claudia B. Gangi, United States Department of Justice, Washington, DC, for Respondent.

                         DECISION ON ATTORNEYS’ FEES AND COSTS1

      On July 9, 2021, Kennedy Deese (“Petitioner”) filed a motion for attorneys’ fees and costs.
Motion for Attorney Fees and Costs (“Fees App.”) (ECF No. 33). For the reasons discussed below,
I GRANT Petitioner’s motion for attorneys’ fees and costs and award a total of $11,592.30.

    I.        Procedural History

        On August 2, 2019, Petitioner filed a petition in the National Vaccine Injury Compensation
Program.2 Petitioner alleged that she developed immune thrombocytopenia as a result of receiving
an influenza vaccine on October 16, 2018. See Petition (ECF No. 1). On October 8, 2020, I filed
an order to show cause. Petitioner’s counsel filed a status report on November 9, 2020, indicating
that she had tried several times to contact petitioner, but that petitioner had not responded. On

1
  I intend to post this Ruling on the United States Court of Federal Claims' website. This means the Ruling will be
available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an unwarranted
invasion of privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, I am required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services).
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine Injury
Act of 1986, Pub L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012) (“Vaccine
Act” or “the Act”). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
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November 12, 2020, I issued my decision dismissing the petition for failure to prosecute and
insufficient proof. (ECF No. 29).

        On July 9, 2021, Petitioner filed a motion for final attorneys’ fees and costs. Petitioner
requests compensation for her attorney, Ms. Nancy Meyers, in the total amount of $11,892.30,
representing $11,490.50 in attorneys’ fees and $401.80 in costs. Fees App. at 1. Respondent
reacted to the fees motion on July 26, 2021, stating that respondent defers to the special master to
determine whether the statutory requirements for an award of attorneys’ fees and costs are met in
this case. Response at 2 (ECF No. 36). Petitioner filed a reply on July 28, 2021, concurring with
respondent that I should exercise my discretion in determining a reasonable award of attorneys’
fees and costs. Reply at 1 (ECF No. 35).

         The matter is now ripe for adjudication.

   II.      Analysis

        Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008).

        This case set forth a claim of documented idiopathic thrombocytopenia with significantly
low platelets within a period of weeks after receipt of the flu vaccine. The petitioner continued to
pursue medical care for this condition for about six months, but her platelets were found to have
returned to normal six months and two days after the onset of her condition. Her physician noted
that she likely had a quick recovery as he would have expected. The petitioner claimed that she
had some vague symptoms after the six-month period had expired and was given the opportunity
to provide evidence that her symptoms could have been caused by the now returned to normal
platelet count. Recognizing the problems with the case, Ms. Myers indicated that she would
withdraw as counsel, but that petitioner wished to continue pro se. The petitioner was given
multiple opportunities to file additional evidence to address the problems that I had identified at
status conferences but failed to do so. Accordingly, an order to show cause was issued. No response
was filed and the case was dismissed.

        Thrombocytopenia is a condition that has been compensated in the program following
receipt of various vaccines, but multiple cases have been dismissed because the petitioner
recovered within six months. In this case the period of documented injury was borderline and
counsel did endeavor to provide all necessary evidence and medical records until her client no
longer cooperated.

       Although the petition was eventually dismissed, I do not doubt the petition was filed in a
good faith belief that petitioner’s injuries were caused by her vaccination. For the reasons set forth
above I have concluded that the petition had a reasonable basis until the time that Ms. Myers
decided that she should withdraw as counsel. She continued to assist the court in communicating


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with her client after that point as requested. Accordingly, petitioner is entitled to a final award of
reasonable attorneys’ fees and costs.

         Petitioners “bea[r] the burden of establishing the hours expended, the rates charged, and
the expenses incurred” are reasonable. Wasson v. Sec'y of Health & Human Servs., 24 Cl. Ct. 482,
484 (1993). Adequate proof of the claimed fees and costs should be presented when the motion is
filed. Id. at 484 n. 1. The special master has the discretion to reduce awards sua sponte, independent
of enumerated objections from the respondent. Sabella v. Sec'y of Health & Human Servs., 86 Fed.
Cl. 201, 208–09 (Fed. Cl. 2009); Savin v. Sec'y of Health & Human Servs., 85 Fed. Cl. 313 (Fed.
Cl. 2008), aff'd No. 99–537V, 2008 WL 2066611 (Fed. Cl. Spec. Mstr. Apr. 22, 2008).

               a. Attorneys’ Fees

       Petitioner requests that her attorney, Ms. Nancy Meyers, be compensated at the following
hourly rates: $390.00 per hour for work performed in 2019 and $400.00 per hour for work
performed in 2020, and $430.00 per hour for work performed in 2021. These rates are consistent
with what Ms. Meyers has previously been awarded for her Vaccine Program work, and I find
them to be reasonable for his work in the instant case as well.

        Turning next to review of the submitted billing statement, I find that the overall hours spent
on this matter to be largely reasonable. The billing entries accurately describe the work being
performed and the length of time it took to perform each task. However, a small reduction must be
made for some clerical tasks billed by paralegals such as filing documents, and also for some
duplicative review of filings by both paralegals and Ms. Meyers. A reasonable reduction for these
issues is $300.00. Therefore, Petitioner is entitled to final attorneys’ fees of $11,190.50.

               b. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of costs must be reasonable. Perreira v.
Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests total
attorneys’ costs in the amount of $401.80. This amount is comprised of the Court’s filing fee and
postage. Fees App. Ex. 1 at 2. Petitioner has provided adequate documentation supporting these
costs and all appear reasonable in my experience. Petitioner is therefore awarded the full amount
of costs sought.

   III.    Conclusion

       In accordance with the foregoing, Petitioner’s motion for attorneys’ fees and costs is
GRANTED. I find that Petitioner is entitled to a reimbursement of attorneys’ fees and costs as
follows:

 Attorneys’ Fees Requested                                            $11,490.50
 (Reduction of Fees)                                                  - ($300.00)
 Total Attorneys’ Fees Awarded                                        $11,190.50

 Attorneys’ Costs Requested                                             $401.80

                                                  3
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    (Reduction of Costs)                                                            -
    Total Attorneys’ Costs Awarded                                               $401.80

    Total Attorneys’ Fees and Costs                                            $11,592.30

       Accordingly, I award a lump sum in the amount of $11,592.30, representing
reimbursement for Petitioner’s attorneys’ fees and costs, in the form of a check payable to
Petitioner and her attorney, Ms. Nancy Meyers.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court shall enter judgment in accordance herewith.3

         IT IS SO ORDERED.



                                                     /s/Thomas L. Gowen
                                                     Thomas L. Gowen
                                                     Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. Vaccine
Rule 11(a).

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